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 6                                  UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                          Plaintiff,                 )
                                                       )
10           v.                                        ) 2:13-CR-087-APG-(CWH)
                                                       )
11 DARREN COKER,                                       )
                                                       )
12                          Defendant.                 )
13                               PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on September 4, 2013, defendant DARREN COKER pled guilty to

15 Counts Four and Five of a Five-Count Criminal Indictment charging him in Count Four with

16 Possession of a Controlled Substance with Intent to Distribute (Methamphetamine) in violation of

17 Title 21, United States Code, Section 841(a)(1) and in Count Five with Felon in Possession of a

18 Firearm, Title 18, United States Code, Section 922(g)(1). Criminal Indictment, ECF No. 1; Change of

19 Plea Minutes, ECF No. 36; Plea Agreement, ECF No. 37.

20            This Court finds defendant DARREN COKER agreed to the forfeiture of the property set

21 forth in the Plea Agreement and the Forfeiture Allegation of the Criminal Indictment. Criminal

22 Indictment, ECF No. 1; Change of Plea Minutes, ECF No. 36; Plea Agreement, ECF No. 37.

23            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

24 has shown the requisite nexus between property set forth in the Plea Agreement and Forfeiture

25 Allegation of the Criminal Indictment and the offense to which defendant DARREN COKER pled

26 guilty.
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 1            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 2 924(d)(1) and Title 28, United States Code, Section 2461(c):

 3                  a.      a Glock 9 millimeter pistol bearing serial number KMA101; and

 4                  b.      any and all ammunition (“property”).

 5            This Court finds the United States of America is now entitled to, and should, reduce the

 6 aforementioned property to the possession of the United States of America.

 7            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

 8 United States of America should seize the aforementioned property.

 9            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

10 DARREN COKER in the aforementioned property is forfeited and is vested in the United States of

11 America and shall be safely held by the United States of America until further order of the Court.

12           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

13 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

14 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

15 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

16 name and contact information for the government attorney to be served with the petition, pursuant to

17 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

18           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

19 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

20           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

21 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

22 following address at the time of filing:

23                  Michael A. Humphreys
                    Assistant United States Attorney
24                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
25                  Las Vegas, Nevada 89101.
26 . . .

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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 2 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 3 following publication of notice of seizure and intent to administratively forfeit the above-described

 4 property.

 5          DATED this 5th day of September 2013.

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                                                 UNITED STATES DISTRICT JUDGE
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                                             PROOF OF SERVICE
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 2         I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following

 3 individuals were served with copies of the Preliminary Order of Forfeiture on September 5, 2013, by

 4 the below identified method of service:

 5         CM/ECF
           Rebecca A. Levy
 6         Federal Public Defender
           411 E. Bonneville Ave.
 7         Las Vegas, NV 89101
           Rebecca_Levy@fd.org
 8         Attorney for Darren Coker
 9         William H. Gamage
           Gamage & Gamage
10         5580 S. Fort Apache Ste. 110
           Las Vegas, NV 89148
11         Askmyattorney@yahoo.com
           Attorney for Kelly Crews
12
13
                                          /s/ Ray Southwick
14                                        Ray Southwick
                                          Forfeiture Support Associates Paralegal
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